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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )               CASE NO. 8:11CR125
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                 MEMORANDUM
                                               )                  AND ORDER
JOSE ROSARIO LOPEZ-SANTIAGO,                   )
                                               )
              Defendant.                       )

       This matter is before the Court on the merits of the Motion Under 28 U.S.C. § 2255

to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody filed by

Defendant Jose Rosario Lopez-Santiago. (Filing No. 139.) In its Order on initial review

(Filing No. 140), the Court dismissed Grounds I and II and required the government to

answer Ground III, in which the Defendant suggests his counsel was ineffective for not filing

a notice of appeal. The government has submitted its Answer (Filing No. 141), Brief (Filing

No. 142), and the affidavit of Defendant’s lawyer Timothy D. Mikulicz (Filing No. 143-1).

Mikulicz asserts that he advised the Defendant of his right of appeal; discussed the waiver

of the right of appeal in the plea agreement; discussed the potential consequences of

violating the plea agreement; discussed the futility of appeal in the event the mandatory

minimum sentence was imposed; and Mikulicz states that Defendant never asked Mikulicz

to file any appeal. The Defendant has not responded to the government’s brief and

evidence, and his time to respond has expired. The Defendant has not asserted that he

asked Mikulicz to file an appeal, only that the Defendant considered Mikulicz’s failure to file

an appeal to be ineffective assistance.
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                               FACTUAL BACKGROUND

       On October 24, 2011, Defendant entered a plea of guilty before Magistrate Judge

Thomas D. Thalken to Count I of the Indictment, which charged Defendant with a violation

of 21 U.S.C. § 846, conspiracy to distribute and possess with intent to distribute 50 grams

or more of methamphetamine. (Filing No. 76.) An interpreter was present at the change

of plea hearing. Defendant was placed under oath, and thereafter stated the following: he

was satisfied with the representation of his attorney, Timothy Mikulicz; no one made any

threat or promise outside of the written plea agreement to get him to plead guilty; he

voluntarily was pleading guilty to Count I of the Indictment; he understood he was waiving

his right to appeal the conviction and sentence, as well as certain post-conviction rights; he

understood his conviction could affect his immigration status; he understood the statutory

penalties, including that on Count I he was subject to a ten-year (120-month) mandatory

minimum sentence and the maximum term of imprisonment was life; and he understood that

he could receive a sentence different than what he or his attorney believed might be

imposed. (Filing No. 94.) Defendant also signed a written plea agreement that stated the

following: Defendant agrees to plead guilty to Count I of the Indictment; Defendant is

exposed to imprisonment of a maximum of life and a mandatory minimum of ten years; in

exchange for Defendant’s plea of guilty, the government agrees to move to dismiss Count

II of the Indictment; and the plea agreement embodies the entire agreement between the

parties. (Filing No. 81.) Additionally, Defendant agreed not to make any motion requesting

a downward departure or reduction based on § 4A1.3 of the United States Sentencing

Guidelines or 18 U.S.C. § 3553. (Id.) Moreover, Defendant agreed to waive his right to

contest the conviction and sentence in any post-conviction proceeding, including those

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pursuant to 28 U.S.C. § 2255, except to challenge the conviction and sentence should the

Eighth Circuit Court of Appeals find that the charge to which he pled guilty fails to state a

crime, or to seek post-conviction relief based on ineffective assistance of counsel or

prosecutorial misconduct. (Id.)

       On November 30, 2011, the Court adopted Judge Thalken’s recommendation to

accept the plea and find Defendant guilty, accepted Defendant’s plea, and found Defendant

guilty. (Filing No. 98.) A presentence report was prepared that noted that the relevant

statutory sentencing provision for Count I mandated a ten-year minimum sentence and a

maximum of life, and calculated Defendant’s total offense level to be 31, criminal history

category to be I, and guideline sentencing range to be 120 to 135 months. (Filing No. 116.)

Defendant did not file an objection to the presentence report. On January 23, 2012,

Defendant was sentenced to a 120-month term of imprisonment and a five-year term of

supervised release. (Filing No. 113.) An interpreter was present at the sentencing hearing.

Judgment was entered on January 23, 2012. (Filing No. 114.) Defendant did not file an

appeal with the Eighth Circuit Court of Appeals.

       Defendant filed the instant § 2255 motion on January 25, 2013, raising three grounds

for relief. In Ground I, Defendant asserted that his counsel was ineffective for “not advising

[Defendant] of the true nature and all the consequences” of entering a plea of guilty; in

Ground II, Defendant asserted that his counsel was ineffective for “not advising [Defendant]

of the statutory minimum” in this case, and that he was told “he would receive a sentence

of 87 months” imprisonment; and in Ground III, Defendant asserted that his counsel was

ineffective for “not filing a direct appeal.” (Filing No. 139 at 3-5.) As noted above, the Court



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dismissed Grounds I and II on initial review, and required the government to respond to

Ground III.

                                       DISCUSSION

       In order to establish ineffective assistance of counsel, Lopez-Santiago must satisfy

both prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that counsel

performed outside the wide range of reasonable professional assistance and made errors

so serious that counsel failed to function as the kind of counsel guaranteed by the Sixth

Amendment. Id. at 687-89. The prejudice prong requires a movant to demonstrate that

seriously deficient performance of counsel prejudiced the defense. Id. at 687.

       A § 2255 motion may be denied without an evidentiary hearing when the record

“conclusively” shows that the movant is not entitled to relief. Noe v. United States, 601 F.3d

784 (8th Cir. 2010). The Defendant’s broad suggestion that his attorney failed to file a

notice of appeal, amounting to ineffective assistance of counsel, is refuted by the other

evidence and the record, including Defendant’s own sworn testimony waiving his right of

appeal.

                                      CONCLUSION

       Lopez-Santiago has proved neither Strickland prong.             Because the record

conclusively shows that Lopez-Santiago is not entitled to relief, Ground III of his motion is

denied without an evidentiary hearing.

       IT IS ORDERED:




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       1.      The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 139) is

denied in its entirety;

       2.      The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address; and

       3.      A separate Judgment will be filed.

       DATED this 11th day of April, 2010.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    Chief United States District Judge
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